Pru Se 7 (Rev. 12/16) Complaint for Empluyment Discrlmination

UNITED STATES DISTRICT CoURT

TAKASHA LATRELL RA|LEY

for the
District of

 

Division

CaseNo. l, l ZCVHBO

(z'o be_)‘r`llc-d in by the CI€:'L' '.s' Oj]z`r:e)

 

Pldint§}'f(:€}
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page with rimqu list ofnamcs.)
_v-

WlNSTON SALEM STATE UN|VERS!TY C/O THE
UN{VERS|TY OF NORTH CAROL|NA SYSTEM
OFF|CE

Jlll'y Tl'ialj (checkone) YCS ENO

 

Defendom(.s'}
(Wrr'£e tlze_fiz!f name ofeach defendant who is being szzed. ifth
names ofa![ the defendant€ cannotjt`r in the space above, please
write "See attached " in the space and attach an additional page
with th€fitll list O_fnames.)

COMPLAINT FOR EM

I. The Parties to This Complaint
A. The Plaintiff(s)

PLOYMENT DISCRIMINATION

Provide the information below for each plaintiff named in the complaint Attaoh additional pages if

needed
Name
Street Address
City and County
State and Zip Codo
Tolephone Numbor
E-maii Addi»ess

B. The Defendant(s)

TAKASHA LATRELL RA|LEY
7206 STAFFORD COLJNTRY LANE
KERNERSV|LLE, FORSYTH

 

 

 

` NORTH CAROL|NA -27284

 

336-817-6040
TLRA| L.EY@GN|A| L.CON|

 

 

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation For an individual defendant,
include the person’S job or title (ifknown). Attach additional pages ifneeded.

CaSe 1218-0V-OO430-WO-.]LW

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Pru Se 7 _Q{cv. 12f l()) Cor§[llaint for E.mploymont Discrin)inntion

Defendant No. l

 

 

 

 

 

Nam€ WlNSTON SA|_E|V| STATE UN|VERS|TY
.iOb 01‘ Title (Hknown} .

Street Address 601 S. MART|N LUTHER K|NG JR. DR|VE
City and County W|NSTON SALEM, FORSYTH CO.

Stato and Zip Code NORTH CAROL|NA 27110

Telephone Number {336) 750-3835

 

E~l'l'lail Addl'€SS (ifkno\¢vn)

 

Defondant No. 2

 

 

 

 

 

Name UN|VERS|TY OF NORTH CAROL|NA SYSTEM OFF|CE
Job or Title ((/`known)

StreetAddress 910 R/-\L.E|GH STREET / P.O. BOX 2688

City and County CHAPEL H|LL, CHATHAM CO.

State and Zip Code NORTH CAROI_|NA 27110

Telephone Number (919) 962-1000

 

E-mail Address (z'fkna»i.-n)

 

Defendant No. 3

Name

 

JOb OI` T`ltle (t`fknown}

 

Street Address

 

City and County

 

State and Zip Code

 

Telephone Number
E-mail Addl'€SS (¢"fknown,)

 

 

Defendant No. 4

Narne

 

.Tob or Titf€ (if/cnown)
Street AddIeSs

City and County
State and Zip Code

 

 

 

 

Telephone Number
E-mail AddTeSS (t`fknown)

 

 

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Pro Se 7 {Rev. lZ.’l f)`t Complaint for Empluynlent Discrlmination
C. Place of Employment

The address at Whichl sought employment or Was employed by~the defendant(s) is

 

 

 

 

 

Narne WINSTON SALEM STATE UN|VERS|TY
Street Address 601 S. MARTIN LUTHER KING JR. DR|VE
City and County W|NSTON SALE|V|, FORSYTH CO.
State and Zip Codo NORTH CAROL|NA, 27110
Telephone Number (336) 750-2835

II. Basis for Jurisdiction

This action iS brought for discrimination in employment pursuant to (check all that apva):

Tine vii of the Civii nigth Aci 0f1964, as codified 42 U.s.c. §§ 2000¢ to 20003-17 (race,

color, gender, religion, national origin).

(Note: fn order to bring suit in federal diso'ict court under Titie VII. you must first obtain o
Notice ofRight to Stte' ietter_from the Equoi Empt'oyment Opportunity COmmisSio//t.)

|:l Age Discrimination in Employment Act of 1967, as oodified, 29 U.S.C. §§ 621 to 634.

(Note: fn order to bring suit in federal district court under the Age Discrim£rtation in
Empioymerit Act, you nutstjirstji`le o charge with the Eqitoi Empioyment Opportunity
Commission.)

Amm'cans with oisabiliiies Aci 0£1990, as codified 42 U.S.C. §§ 12112 to 12117.

(Note.' Irt order to bring suit in federal district court under the Americans with Disobiiities
Act, you must first obtain o Notice ofRi'ght to Sue ietterj?'om the Equol Empioyment
Opportunz'ty Commission.)

E

Other federal law open-931 thefederal law):

 

E

RClEVElI]f Sléll€ law _(specijj)_. ificnov.»'n)j

 

ij

Relevant city or county law (,speai;§», gf'known):

 

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III.

Statemcnt of Claim

 

Write a short and plain statement of the claim. Do not make legal arguments State as briefly as possible the
facts Showing that each plaintiff is entitled to the damages or other relief Sought. State how each defendant Was
involved and What each defendant did that caused the plaintiff harm or violated the plaintiffs ri ghts, including
the dates and places of that involvement or conduct lf more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a Separate paragraph Attach additional pages if needed.

A. The discriminatory conduct of vvhicli l complain in this action includes (check all that app{tj:

EIIIHHE

Failure to hire mc.

Termination of my employment

Failure to promote me.

Failure to accommodate my disabilityl

Unequal terms and conditions of my employment
Retaliation.

Other acts (spec;',fw:

(Note: Oniy those grounds raised in the charge filed with the Equoi Empl'oyment
Opportunity Commission con be considered by the federal district court under the

 

federal employment discrimination statutes )

B. lt is my best recollection that the alleged discriminatory acts occurred on date(s)
ON OR BEFORE 4/19/20‘17 THROUGH 4/5)'2018

C. l believe that defendant(s) (check one):

EI

is/are still committing these acts against me.

is/are not still committing these acts against me.

 

 

 

D. Defendant(s) discriminated against me based on my (check all that applv and e.rptain):
race AFR|CAN-AMER[CAN
color BLACK
gender/sex F E|V|i-\|_E
religion

IEEEIII

 

national origin

 

age (year nfhink) (orriy when asserting o claim ofoge discrimination )
disability or perceived disability Li;)ec{,fi» disability
COMBAT ZONE RE|_ATED

 

E. The facts of my case are as follows Attach additional pages if needed

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IV.

A FACULTY GR|EVANCE RELATED TO P/-\Y WAS FILED DECEMBER 2015. MADE AN iNTERNAL
INQUIRY CONCERN!NG FACULTY GRIEVANCE PROCESS |RREGULAR|TIES DECEMBER 2016.
MEDIAT|ON OF FACLJLTY GR|EVANCE TOOK PLACE FEB/MAR 2017. F|LED ADA
ACCOMODAT|ONS AFTER GR|EVANCE PROCESS WAS COMPLETE IN MARCH 2017.
RETALiAT|ON BEGAN MARCH 2017 UNT|L PRESENT. F|LED |NTERNAL EEOC CHARGES APRIL
21, 2017. F|LED TWO EXTERNAL EEOC CHARGES. RETAL|ATION CONT|NUED. ADA
ACCOIV|ODAT|ONS WERE NOT |V|ET. RECEIVED COM|VIUN|CAT|ON OF EMPLOY|V|ENT
D|SCHARGE ON APR|L 5, 2018 STAT|NG THAT |V|Y LAST DAY W|LL BE |V|AY 31, 2018.

 

(Note.‘ As additional support for the facts ofyour claim, you may attach to this complaint a copy of
your charge]?ied with the Equa! Enipio,i'tnent Opportunitv Conimission, or the chargc_filed with the
relevant state or city human rights division.)

Exhaustion of F ederal Administrative Remedies

 

A. lt is my best recollection that I filed a charge with the Equal Bmployment Opportunity Commission or
my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
On (daie)
05)'12)'2017
B. The Equal Employment Opportunity Commission (check wie):
|:| has not issued a Notice ofRight to Sue letter.
|:| issued a Notice of Right to Sue letter, vvhich l received on (dai@) 02/24/2018

(Notc.' Attach a copy oft/ic thice ofRight to Siie letterji"om the Equal Empfoynient
Opportnnity Cornmission to this compiaint.)

C. Only litigants alleging age discrimination must answer this question

Since filing my charge of age discrimination with the Equal Employinent Opportunity Commission
regarding the defendants alleged discriminatory conduct (check o)ze);

60 days or more have elapsedl

|:| less than 60 days have elapsed
Re]ief
State briefly and precisely vvhat damages or other relief the plaintiff asks the court to order. Do not make legal
argumentsl lnclude any basis for claiming that the vvrongs alleged are continuing at the present time. Include the
amounts of any actual damages claimed for the acts alleged and the basis for these amounts Include any punitive

or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
money damages

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VI.

-RE|NSTATEMENT OF FACULTY POS[TION

-ADA ACCOMODAT|ONS
-ORDER FOR WSSU TO AB|DE BY THE l\/|ED|AT|ON AGREEMENT RELATED TO PAY D|SCREPANCY TO

|NCLUDE SALARY ADJUSTMENTS/ENCREASES, |NTEREST, BACKPAY
-NIAX|N|UM PENALT|ES AND MONETARY DAMAGES FOR EACH UNLAWFUL ACT|ON ACCORD[NG TO THE

LAW
- $500,000 FOR PUN|T|VE DANIAGES THAT HAS CAUSED NlY AB|L|TY TO WORK AT CAPAC|TY TO BE

AFFECTED.

 

Certif“ication and Closing

Under Federal Rule of Civil Procedure l l, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint (l) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary Support or, if specifically so identified, Will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies With the
requirements of Rule ll.

A. For Parties Without an Attorney

l agree to provide the Clerk’s Office with any changes to my address where casarelated papers may be
served l understand that my failure to keep a current address on file With the Clerl<’s Officc may result

in the dismissal of my case_

 
   
 
    

Date of signing: 05/21/2018

Signature ofPlaintiff
Printed Name of Plai tiff

 

TAKAS HA LATRELL RA|LEY

B. For Attorneys

Date of signing:

Signature of Attomey

 

Printed Name of Attorney

 

Bar Nnmber

 

Name ofLa\v F irm
Street Address
State and Zip Code

 

 

 

Telephone Number
E-rnail Address

 

 

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U.S. EQUAL EMPLOYMENT OPPOR'I`UNITY COMMISSION
' Gr'eensboro Local Office

2303 West Meadowview Road, Suite 201
Greensbcro, NC 27407

lntake information Group: (800) 669-4000
lntake lnformation Group "l“TY: {8(}0) 669-6320
Grcensboro Status Line: {866) 408-8075

Direct Dial: (336) 547-4019

TTY (336) 547-4035

FAX (336) 547-4032

Website: www.eeoc.aov

 

February 20, 2018

Ms. Takasha Raiiey
7206 Staf`ford Country Lane
Kernersville, NC 27284

Re: Tal<asha Railey v. Winson Salern State University
EEOC Cliarge Nc.: 435~20l7-00503

Dear l\/ls. Raiiey'.

The processing of your charge of employment discrimination in the above referenced matter has been y
completed The Equal Employment Opportunity Cornmission (EEOC) is dismissing your charge and is
issuing to you a Notice of Right to Sue.

ln your charge of discrimination, you allege you were subjected to unlawful discrimination based on your
race (Blacl<!African American) and sex (Female), in violation ofTitle Vll of the Civil Rights Act of l 964,
as amended and denied equal wages in violation ofthe Equal Pay Act of1963, as amended You also
allege you were denied a reasonable accommodation based on your medical condition in violation ofthe
Americans with Disabilities Act of l99(), as amended

The evidence you provided is insufficient to show Winston Salem State University (respondent),
subjected you to unlawful discrimination Specifically, the evidence does not show your race, sex, or
medicai condition was a factor in any employment action by Respondent, nor was there evidence of a
discriminatory bias towards you with regard to your race, sex, or medical condition The evidence does
not show you were paid at a lower rate of pay than your White male counterpart or denied a reasonable
accommodation based your medical condition.

ln view of these facts, it is unlikely that further investigation of your charge will result in a finding that a
violation of the law(s) under which you filed your charge has occurred For that reason, we have
dismissed your charge and closed your file.

Enclosed you wil£ find a Dismissal Notice of Right to Sue and an lnformation Sheet which describes your
right to pursue the matter in court by filing a lawsuit within 90 days ofyour receipt of the dismissal
notice. This 90-day period for filing a private lawsuit cannot be waived, extended or restored by EEOC.

l regret that we cannot be of further assistance to you in this mattcr.

Sincerely,

vs rt v ~ ~~
Patricia Phelps

Federal lnvestigator

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Eeoc i=arm 151 nins) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMN[]SS!ON

 

DisnmssAl_ ANo NoTicE oF Rlei-irs

 

TO! Takasha L. Railey FtOmf Greensboro Local Office
7206 Stafford Country Lane 2303 West Nleadowview Rd
Kernersvil|e, NC 27284 Suite 201

Greensboro, NC 27407

 

l:l On behalf ofperson(s) aggrieved Whose identify is
CONFIDENT!AL (29 CFR §1601.7(3))
EEOC Charge No. EEOC Representative Telephone No.

Patricia Phelps,
435-2017-00503 lnvestigator (336) 547-4064
THE EEOC |S CLOSiNG ITS Fll_E ON TH|S CHARGE FOR THE FOLLOW|NG REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans VVith Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely Eled with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

The EEOC issues the following determination: Based upon its investigation. the EEOC is unable to conclude that the
information obtained establishes violations of the statutes This does not certify that the respondent is in compliance with
the statutesl No finding is made as to any other issues that might be construed as having been raised by this charge

HUUU[]

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this chargel

[lE

Other (brief)'y state)

- NOTlCE OF SU|T RlGHTS -

(See the additional information attached to this forrn_) n

Title Vll, the Americans with Disabilities Act, the Genetic information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that We will send you.
You may file a iawsuit against the respondent(s) under federal law based on this charge in federai or state court Your
lawsuit must be filed WlTH|N 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost (The time limit for filing suit based on a claim under state law may be different.)

Equai Pay Act {EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment Thls means that backpay due for any violations that occurred mere than 2 vears {3 vearsl
before you file suit may not be collectible.

On behalf of the Cornmission y

gm ibm leo\\%/

E \
nC|OSUreS(S) investigator delegated for.' Arlene Nl. Glover, male Ma"'/E"d)
Local Office Director

Cc: |vey L. Brown, Jr.

Chief Legal Counsel
Winston-Salem State University
125 Blair Hall

601 S. N|artin Luther King Jr. Dr.
Winston Salem, NC 27110

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